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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                       1/26/2024

In re:
                                                                           03-MD-01570 (GBD)(SN)
          TERRORIST ATTACKS ON
          SEPTEMBER 11, 2001                                                          ORDER


-----------------------------------------------------------------X

SARAH NETBURN, United States Magistrate Judge:

          The Kingdom of Saudi Arabia and Dallah Avco (collectively, “Defendants”) recently

moved to dismiss all claims against them on jurisdictional grounds. The Plaintiffs’ Executive

Committees (“PECs”) and Ashton counsel (collectively, “Plaintiffs”) jointly opposed those

motions. Their opposition materials included two briefs, an averment of facts, and hundreds of

documentary and multimedia exhibits. The Defendants contend that portions of those materials

were improper and move to strike them. See ECF Nos. 9500, 9501. 1 For the following reasons,

the Court grants in part and denies in part their motion.

                                              BACKGROUND

          The Court assumes familiarity with this multidistrict litigation and summarizes only the

relevant procedural and factual background. On March 28, 2018, the Court authorized “limited

and targeted jurisdictional discovery” into Saudi Arabia’s relationship with individuals—Fahad

al Thumairy and Omar al Bayoumi—who had contact with the 9/11 hijackers before the Attacks.

ECF No. 3946 at 23. That discovery stretched on for four years and precipitated significant

motion practice.




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    Unless otherwise noted, all ECF numbers refer to the main MDL docket, No. 03-md-01570.
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I.      Jurisdictional Discovery Process

        After repeated delays (some due to the COVID-19 pandemic) the Court set deadlines for

completing jurisdictional discovery on claims against the Defendants. The deadline to produce

fact witness declarations was May 31, 2021, with fact depositions to be completed by June 30,

2021. Plaintiffs’ expert reports were to be served by September 15, 2021. See ECF Nos. 6002,

6204, 6546, 6872.

        As the expert report cutoff approached, the U.S. Government announced plans to

declassify intelligence documents related to the 9/11 Attacks. See Exec. Order No. 14040, 86

Fed. Reg. 50439 (Sept. 3, 2021). The Plaintiffs had long pursued access to law enforcement and

intelligence agency reports, but national security restrictions had stymied their efforts. See ECF

No. 7090 (referencing the Plaintiffs’ three years of litigating these issues). Citing the “revelatory

nature of the evidence sought, the minimally disruptive length of the extension, and the

unfairness of proceeding without their experts obtaining [this] material,” the Plaintiffs asked to

postpone the expert discovery deadlines. ECF No. 7752 (describing requests at ECF Nos. 7074

and 7090).

        The Court granted an extension, setting expert discovery deadlines well outside the

projected declassification dates. The Plaintiffs’ expert reports were due April 1, 2022, and expert

discovery was to be completed by July 1, 2022. See ECF No. 7117. The Court cautioned that it

did “not expect to modify this schedule barring extraordinary circumstances”—which “w[ould]

not include delays in the Government’s compliance with the President’s [declassification]

Executive Order.” Id.

        As expert discovery moved forward, the Plaintiffs gained access to more and more law

enforcement records. In November and December 2021, the U.S. released its first tranche of

Federal Bureau of Investigation (“FBI”) records pursuant to Executive Order 14040. The


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Plaintiffs then moved to reopen fact discovery and compel the Kingdom to produce additional

documents. See ECF No. 7481. The Court denied the request. See ECF No. 8862.

         In March 2022, the U.S. released a second tranche of records that included an electronic

communication dated July 23, 2021 (“July 2021 EC”). The Plaintiffs requested an extension of

the expert report deadlines to permit their witnesses to review the newly declassified records; the

Court denied that request. See ECF No. 7752.

         Later that month, and again in December 2023, the Metropolitan Police Service (“MPS”)

in London released documents and footage amassed during its investigation of Bayoumi. See

ECF Nos. 7922, 9461. The Plaintiffs made no discovery motions following those productions.

II.      Motion to Dismiss Protocols

         With discovery finally complete, the Defendants requested a briefing schedule for their

motions to dismiss and accompanying Daubert motions. The parties could not reach agreement

on various briefing protocols, so the Court held a conference to discuss timelines, redaction

processes, and other points of contention.

         After the conference, the Court issued a detailed briefing schedule. See ECF No. 9026 at

5. The Court set page limits for each of the parties’ briefs and took steps to ensure that those

limits could not be circumvented by “incorporating by reference” factual averments or

declarations. Id. at 4. Specifically, the Court ordered the parties to “set forth all pertinent facts”

in their briefs and, “for each factual statement, provide one or more citations (with specific page

or paragraph numbers) to pleadings, declarations, affidavits, averments, or other documents that

have been separately filed.” Id. at 4. The Court declined to restrict the length of those filings but

warned that it would “consider only averments cited in the briefs.” Id.

         According to that scheduling order, the parties briefed their Daubert motions and then the

Defendants filed motions to dismiss. The PECs and Ashton counsel were scheduled to file


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separate oppositions on December 8, 2023, but secured a brief extension to combine their

submissions. On December 20, 2023, the Plaintiffs filed their consolidated opposition

comprising 110 pages of briefing, a 2,118-paragraph factual averment, and nearly 700 exhibits,

including five declarations not previously produced to the Defendants. The Defendants then filed

this motion to strike. See ECF No. 9500.

                                           DISCUSSION

       District courts have “broad latitude to . . . manage the discovery process,” EM Ltd. v.

Republic of Argentina, 695 F.3d 201, 207 (2d Cir. 2012), and their “own dockets,” Katz v.

Cellco P’ship, 794 F.3d 341, 346 (2d Cir. 2015). Among other things, courts can issue orders

setting discovery deadlines and imposing restrictions on motion practice. See Fed. R. Civ. P. 26

(authorizing courts to set discovery deadlines); N.Y. State Teamsters Conf. Pension & Ret. Fund

v. Express Servs., Inc., 426 F.3d 640, 648–49 (2d Cir. 2005) (recognizing the courts’ “authority

to institute local rules governing summary judgment submissions”). When litigants violate these

orders, sanctions are sometimes appropriate. See Fed. R. Civ. P. 37 (authorizing sanctions for

violations of discovery rules); Hunte v. Abbott Lab’ys, Inc., 556 F. Supp. 3d 70, 98 n.19 (D.

Conn. 2021) (referencing court’s “inherent authority” to strike portions of a party’s brief).

       The Defendants assert that the Plaintiffs violated the Court’s discovery orders and

briefing schedule by (1) “purporting to incorporate by reference hundreds of paragraphs from an

Averment into Plaintiffs’ opposition brief”; (2) “submitting three untimely fact declarations”;

and (3) “submitting two untimely expert declarations.” ECF No. 9500 at 1. In their view, these

transgressions warrant sanctions, so they ask the Court to strike the offending portions of the

Plaintiffs’ materials. We address the three types of violations separately.




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III.    Averment of Facts

        First, the Defendants argue that the Plaintiffs violated the Court’s order governing briefs

and factual averments. See id. In that order, the Court admonished the parties to “set forth all

pertinent facts” in the briefing itself—not just “incorporate[e] by reference” averments or

declarations. ECF No. 9026 at 4. This instruction was supposed to streamline the parties’

arguments and spare the Court from scouring hundreds of exhibits to find potentially dispositive

nuggets of information. (After all, “[j]udges are not like pigs, hunting for truffles buried in [the

record].” United States v. Dunkel, 927 F.2d 955, 956 (7th Cir. 1991).)

        At the very least, the Plaintiffs violated the spirit of that order. Rather than stating the

facts one by one and citing the sources corroborating them, the Plaintiffs’ briefs often speak in

generalities and cite dozens or hundreds of averment paragraphs to support each statement. See

ECF No. 9560-1, 9560-2. These “overbroad” citations leave the Court no choice but to root

around in the averments, looking for facts to support each assertion in the briefing—the very

outcome the Court intended to avoid. ECF No. 9560-3.

        The Defendants raise legitimate questions as to whether such citations are proper. And,

invoking the Court’s promise to consider only facts “cited” in the briefs, they urge the Court to

disregard passages, as well as underlying averments, that are associated only with block

citations. ECF No. 9026 at 4; see ECF No. 9560-3.

        Striking these problematic passages would go too far, however. The unusual procedural

posture of this litigation and the importance of the issues raised in the motions to dismiss weigh

against excluding marginal portions of the Plaintiffs’ filings. And striking passages associated

with block citations would also cause substantial delay because the Plaintiffs would need time to

re-file their briefs and averment of facts. Further delay is not in the interests of this litigation. As




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such, the Court denies the Defendants’ motion to strike portions of the Plaintiffs’ briefs and

averment of facts.

IV.       Fact Witness Declarations

          Second, the Defendants ask the Court to exclude declarations from the Plaintiffs’ three

new fact witnesses—Brian Weidner, Usman Madha, and James Heavey—because they were

proffered years after the May 31, 2021 deadline. See ECF No. 9500 at 2–3.

          Fact witness disclosures are governed by Rule 26 of the Federal Rules of Civil

Procedure. 2 That Rule directs parties to identify “each individual likely to have discoverable

information . . . that the disclosing party may use to support its claims or defenses” by a court-

ordered deadline. Fed. R. Civ. P. 26(a). A party must “timely” “supplement or correct its

disclosure” if it learns that the material it produces “is incomplete or incorrect.” Fed. R. Civ. P.

26(e).

          If a party does not disclose a witness’s information, “the party is not allowed to use that

information or witness to supply evidence on a motion . . . unless the failure was substantially

justified or is harmless.” Fed. R. Civ. P. 37(c)(1). In deciding whether to enforce these or other

sanctions, courts consider the four Outley factors: “(1) the party’s explanation for the failure to

comply with the discovery order; (2) the importance of the testimony of the precluded witness;

(3) the prejudice suffered by the opposing party as a result of having to prepare to meet the new

testimony; and (4) the possibility of a continuance.” Softel, Inc. v. Dragon Med. & Sci.

Commc’ns, Inc., 118 F.3d 955, 961 (2d Cir. 1997) (citing Outley v. City of New York, 837 F.2d

587, 590–91 (2d Cir. 1988)); see also ECF No. 8905 (discussing interaction between substantial

justification, harmlessness, and the Outley factors).



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    Subsequent references to “Rules” are to the Federal Rules of Civil Procedure.


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       The Court applies these Rules to each of the contested witnesses, reviewing the content

of their declarations, the procedural history surrounding their production, and the parties’

arguments for and against striking their testimony.

       A.      Weidner

       Weidner, a longtime consultant for Plaintiffs’ counsel and former FBI Special Agent,

authored a declaration detailing the purpose and significance of an FBI document, the July 2021

EC, declassified in March 2022. See ECF No. 9500-3.

       The Plaintiffs do not dispute that they produced Weidner’s declaration to the Defendants

in December 2023, years after the Court’s deadline for fact witness declarations and

approximately 21 months after the July 2021 EC was released. Instead, they imply that the fact

witness deadline should not apply to Weidner because his declaration “authenticate[s]” the

declassified FBI document it analyzes. ECF No. 9504 at 4. But Weidner’s declaration does more

than just authenticate records. It includes extensive background information about Weidner’s

role and FBI operations, and incorporates Weidner’s own conclusions about many of the topics

addressed in the declassified report. See ECF No. 9500-3. This type of testimony is the province

of a fact witness, so the Court’s May 2021 deadline applies to his declaration. It follows that the

Plaintiffs’ failure to disclose his declaration by that date violated Rule 26.

       The Plaintiffs cannot avoid Rule 37 sanctions because they have made no showing that

their belated disclosure of Weidner’s declaration was “substantially justified” or “harmless.”

They offer no explanation for waiting 21 months (after receiving the declassified FBI document

in March 2022) to produce it. And they provide no reason to doubt the prejudice to Defendants

that comes with being denied the opportunity to depose him. See Preuss v. Kolmar Lab’ys, Inc.,

970 F. Supp. 2d 171, 180 (S.D.N.Y. 2013) (holding that Rule 26 violation was not harmless

because opposing counsel did not have an opportunity to depose the witness).


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           The Outley factors affirm that excluding Weidner’s declaration is the appropriate remedy.

The Plaintiffs offer (1) flimsy “explanation[s] for the[ir] failure to comply with the discovery

order”; and (2) no assessment of the independent “importance” of Weidner’s testimony. Softel,

118 F.3d at 961. The Defendants assert (3) that litigating the motions to dismiss without the

opportunity to depose Weidner would “prejudice” them. Id.; see ECF No. 9500 at 5. And (4) a

“continuance” is not in the interests of this litigation. Softel, 118 F.3d at 961.

           Because Rule 37 and the Outley factors favor sanctions, the Court precludes the Plaintiffs

from relying upon Weidner’s declaration as a fact witness. To the extent his declaration is

required solely to authenticate the FBI document discussed, the Court may consider it.

           B.     Madha

           Madha was a regular attendee at two Los Angeles mosques and worked for the Islamic

Foundation of Sheikh Ibn Taymiyah from 1998 to 2013. See ECF No. 9500-4. In that capacity,

he had contact with Thumairy and other people of interest in this litigation. See id. at ¶¶ 3, 7. He

timely submitted a declaration recounting those contacts and was deposed during fact

discovery—that is, in 2021. See id. at ¶ 1. Roughly two years later, at the Plaintiffs’ request, he

reviewed footage and photographs released by MPS in March 2022 and drafted a second

declaration (“Madha II”), which the Plaintiffs included in their opposition filings. See id. at ¶¶ 1,

2, 4, 6.

           The Plaintiffs produced Madha II years after the fact discovery deadline passed. They

attempt to obscure the importance of this history by casting Madha II as a supplement to

Madha’s original declaration. See ECF No. 9504 at 4. That attempt fails on two counts: first,

they identify nothing in Madha’s original declaration that was rendered “incomplete or incorrect”

such that a Rule 26(e) supplement was appropriate; and second, even if the MPS’s March 2022

document release required Madha to supplement his original declaration, waiting 21 months to


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do so means it was not “timely” as required by Rule 26(e). Either way, the Plaintiffs’ belated

disclosure of Madha II violated Rule 26.

       Like with Weidner, the Plaintiffs do not show that this violation was “substantially

justified” or “harmless” such that Rule 37 sanctions are not warranted. Fed. R. Civ. P. 37(c)(1).

They give no sound explanation for producing this declaration 21 months after the footage it

discusses became available. And their disputed claim that “Saudi Arabia’s witnesses have

personal knowledge of these facts” does not dispel the potential prejudice associated with

requiring Defendants to respond to witnesses they had no opportunity to depose on the relevant

topics. ECF No. 9504 at 4; see Preuss, 970 F. Supp. 2d at 180 (finding harm where Rule 26

violation prevented opposing counsel from deposing witness).

       The Outley factors similarly support sanctions. The Plaintiffs have no credible

“explanation” for failing to comply with Court orders; they do not identify the “importance” of

Madha’s commentary on this footage to the case; including Madha II would “prejudice” the

Defendants by denying them the opportunity to depose Madha on these facts; and a

“continuance” would only compound the delays in this litigation. Softel, 118 F.3d at 961.

       Because these factors and Rule 37 favor sanctions, the Court strikes Madha II.

       C.      Heavey

       Heavey is a Greenwich Parks and Recreation employee whose declaration discusses the

visibility of the World Trade Center from Greenwich Point Park. See ECF No. 9500-5. Like the

Weidner and Madha declarations, the Heavey declaration was produced two years after fact

discovery closed—a plain Rule 26 violation. The Plaintiffs provide no “justifi[cation]”—let

alone a “substantial[]” one—for this delay, and offer no grounds for finding it “harmless.” Fed.

R. Civ. P. 37(c)(1). Their entire defense of the Heavey declaration appears in a footnote reciting

the procedural history. See ECF No. 9504 at 6 n.9. In the absence of a compelling “explanation”


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of the Plaintiffs’ violation or the “importance” of this declaration to the case, the Defendants’

asserted “prejudice” and the unviability of a “continuance” warrant imposing sanctions under

Outley. Softel, 118 F.3d at 961. As such, the Court strikes the Heavey declaration for purposes of

the motions to dismiss.

V.      Expert Witness Declarations

        Third, the Defendants object to the Plaintiffs’ two new expert declarations from William

Adams and Bassem Youssef. See ECF No. 9500 at 3–5. They ask the Court to strike these

declarations because they were produced after the close of expert discovery and do not qualify

for an exemption from those disclosure deadlines. See id.

        Under Rule 26, parties must produce expert reports “at the times and in the sequence that

the court orders.” If a “party learns that in some material respect” the expert’s report or

deposition “is incomplete or incorrect,” the party must “supplement or correct” the report “in a

timely manner.” Fed. R. Civ. P. 26(e). Just as with fact witnesses, a party that fails to comply

with these requirements “is not allowed to use that information or witness to supply evidence on

a motion . . . unless the failure was substantially justified or is harmless.” Fed. R. Civ. P.

37(c)(1). Any sanctions should consider: “(1) the party’s explanation for the failure to comply

with the discovery order; (2) the importance of the testimony of the precluded witness; (3) the

prejudice suffered by the opposing party as a result of having to prepare to meet the new

testimony; and (4) the possibility of a continuance.” Softel, 118 F.3d at 961; see also ECF No.

8905.

        The Court reviews the disputed witness declarations and the procedural history that led to

their production under these Rules.




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         A.     Adams

         Adams is a “digital visualization” specialist who provided reconstructions of an event

based on video, photographs, and floor plans. ECF Nos. 9488-1 at ¶ 1663; see ECF No. 9500-6

at 18.

         The Plaintiffs do not dispute that the Adams declaration was prepared after the April 1,

2022 deadline for affirmative expert reports. See ECF No. 9504 at 4–5. Rather, they contend that

the Adams submission is a “demonstrative” and therefore exempt from the requirements of the

Court’s expert discovery orders. Id. Notwithstanding the Plaintiffs’ arguments, the Adams

declaration and exhibits should be analyzed under expert witness rules.

         Demonstrative exhibits are “used to illustrate and clarify other evidence,” often as “visual

aids to help illustrate expert witness testimony.” Brodeur v. Champion, No. 17-cv-01738 (RMS),

2019 WL 3854302, at *1 (D. Conn. Aug. 16, 2019). Demonstrative exhibits are subject to the

same relevancy and prejudice standards applicable to other evidence. See id. at *2. And, of

course, a witness’s use of a demonstrative does not insulate his testimony from other challenges,

such as his competency to testify as an expert witness. It follows that we cannot ignore

challenges to the Adams declaration simply because there are demonstrative exhibits attached to

it. Rather, we must look at the contents of his testimony to determine what type of witness he is.

         Like other experts, Adams purports to apply “specialized knowledge” and “technical”

skills to “facts” and “data” to “help the trier of fact to understand the evidence or determine a

fact in issue.” Fed. R. Evid. 702. He conducted his own independent research and purports to

analyze the information he found, meaning his testimony is beyond a summary of evidence

already in the record. See, e.g. ECF No. 9500-6 at ¶¶ 23–26 (describing his search for and use of

information from redfin.com, apartments.com, and zillow.com to approximate the floor plan of




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an apartment). Accordingly, his declaration should be subject to the same rules as any other

expert.

          Analyzing the Adams declaration as an expert report, it is evident that the Plaintiffs

produced it more than a year late, in violation of Rule 26. The Plaintiffs attempt to avoid any

sanctions for this violation by arguing that late disclosure was “justified” because Adams

analyzed footage MPS released from its Bayoumi investigation in March 2022 and December

2023. Fed. R. Civ. P. 37(c)(1); see ECF No. 9504 at 4. This explanation holds little weight. The

Court previously rejected an invitation to put jurisdictional discovery on hold to accommodate

the slow pace of government declassification programs, see ECF No. 7752—and it certainly does

not endorse treating third-party disclosures as a license to reopen discovery without seeking the

Court’s permission. Moreover, this explanation does nothing to reduce the prejudice to the

Defendants, who have had no opportunity to depose Adams or challenge his methods. See

Preuss, 970 F. Supp. 2d at 180 (finding harm where Rule 26 violation prevented opposing

counsel from deposing witness). The Court does not find the Plaintiffs’ last-minute disclosures

“substantially justified” or “harmless” such that sanctions would be improper. Fed. R. Civ. P.

37(c)(1).

          For similar reasons, the Outley factors advise exclusion. The Plaintiffs’ “explanation” for

its late disclosure is not compelling, the “importance” of the Adams declaration and exhibits is

vague, the Defendants are “prejudice[d]” by the absence of an opportunity to challenge Adams’s

findings, and a “continuance” is not advisable. Softel, 118 F.3d at 961.

          The Court therefore strikes the Adams declaration for purposes of the motions to dismiss.

          B.     Youssef

          Youssef is a former FBI Special Agent proffered as an expert by the Plaintiffs. See ECF

No. 9500-9. His original (timely) report addressed Saudi Arabia’s use of diplomatic outposts in


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the District of Columbia and Los Angeles to export extremism; the roles of Thumairy and

Bayoumi in those efforts; and the significance of Saudi Arabia’s support for extremism to the

operational success of the 9/11 Attacks. See ECF No. 9089-1. After the MPS released new

materials in March 2022 and December 2023, Youssef drafted a second report (“Youssef II”)

analyzing footage that purportedly shows Bayoumi “casing” the United States Capitol. ECF No.

9500-9 at ¶ 8.

       As with Adams, the Plaintiffs do not defend the timing of Youssef II’s production, but

here that poses an even greater problem. The Plaintiffs assert that Youssef II is a “supplement” to

his original declaration under Rule 26(e). See ECF No. 9504 at 5. Rule 26(e) likely does not

authorize Youssef II as a supplement because much of it falls outside the scope of his original

declaration. But even if it did, the Court would be troubled by the Plaintiffs’ decision to wait

until December 2023 to produce a supplemental report that relies heavily on material released in

March 2022. See ECF No. 9500-9 at ¶ 3 (“I have not yet completed my review of the entire MPS

2023 production . . . .”); see also ECF No. 9500-9 at ¶¶ 37–59 (analyzing materials produced in

March 2022).

       For the same reasons, the Plaintiffs’ late disclosure of Youssef II is not “substantially

justified” under Rule 37. Nor is a surprise expert report produced in the middle of briefing a

dispositive motion “harmless.” Fed. R. Civ. P. 37(c)(1). The Outley factors lead to the same

result—although the “importance” of this report is clearer, so is the “prejudice” to the

Defendants. Softel, 118 F.3d at 961. Given the absence of any “explanation” for the Plaintiffs’

21-month delay in production and the strong interests in avoiding the further delay that would

arise from a continuance, sanctions are warranted.

       The Court strikes Youssef II.




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                                         CONCLUSION

       The Court grants in part and denies in part the Defendants’ motion as described above.

The Court is provisionally docketing this Order under seal, with access limited to the PECs and

counsel for the Ashton plaintiffs, the Kingdom of Saudi Arabia, and Dallah Avco, because it

discusses filings that remain sealed. If the parties object to any information in this Order

becoming public, they should submit proposed redactions by February 9, 2024.

SO ORDERED.



                                                      SARAH NETBURN
                                                      United States Magistrate Judge
DATED:         January 26, 2024
               New York, New York




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